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IN THE UNITED sTATEs DISTRICT CoURT ‘ ~-
FoR THE WEsTERN DISTRICT oF TENNESSEE G- __ _

WESTERN DIvIsIoN 3 SEF l PH 2- h.!

 

CHARLES BEYER, TIME & SECURITY
MANAGEMENT, INC., ALLIED
INDUSTRlAL ELECTRONICS, and
STEPHANIE COLE, as trustee for the
ESTATE OF TIME & SECURITY
MANAGEMENT, INC., d/b/a ALLIED
INDUSTRIAL ELECTRONICS,

 

V.

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Plainriffs, ) NO. 02-2417 B/An
)
§
PITTWAY CORPORATION, HoNEYWELL )
CoRPoRATIoN and NoRTHERN )
COMPUTERS, tNC., )

)

)

Defendants.

 

AMENDED RULE 16(B) SCHEDULING ORDER

 

Upon the Plaintiffs’ and Defendants’ joint motion, the parties’ request to extend the April
22, 2003 Schedule is GRANTED, and the following dates are established for:
COMPLETING ALL DISCOVERY:
(a) EXPERT DISCLOSURES (Rule 26):
(i) Plaintifi‘ s Rule 26 Experts: March 31, 2006
(ii) Defendants’ Rule 26 Experts: April 28, 2006
(iii) Supplementation under Rule 26(e): May 15, 2006
(b) DOCUMENT PRODUCTION,
INTERROGATORIES, and REQUESTS
FOR ADMISSIONS: March 31, 2006

(c) DEPOSITIONS: March 31, 2006 (fact)
June 30, 2006 (expert)

(d) MOTIONS TO COMPEL DISCOVERY: to be filed and served within forty-five
days of the default or the service of the response, answer or objection which is the subject of the

Ttn's document entered on the docket sheet in compliance

3 with Rule 53 and/or rsta) FncP on

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motion, unless the time for filing such motion is extended for good cause shown, or the objection
to the default, response, answer, or objection shall be waived.

HLINQDISPOSITIVE MOTIONS: July 31, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rlll_e 26(3[(3[!:

(a) For Plaintiff: Novernber 30, 2006
(b) For Defendant: November 30, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to list

objections under Rule 26(a)(3).

This tn`al is expected to last 5 days and will be SET for JURY TRIAL on

_D£C!A!\|H£Lf_i]_@>at Q§an A pretn'al conference will be conducted on hamm

at q"DOam. A joint pretrial order, jury instructions and motions in limine are due

llcnabg;{.m.

Absent good cause shown, the scheduling dates set by this order will not be modified or

dba

UNIEL BREEN
UNI ED STATES DISTRICT JUDGE

extended.

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing has been forwarded by U.S. Mail,

postage prepaid, to Richard Glassman and R. Douglas Hanson, Esq., 26 North Second Street,

97
Memphis, TN 33103, on this i/_'H'ay of /?r)¢ , 2005.

 

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UNITE sTATEs DISTRICT OURT - WESTRENDTISRIC OF TNNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 122 in
case 2:02-CV-024l7 Was distributed by fax, mail, or direct printing on
Scptcmber 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

